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                               UNITED STATES DISTRICT COURT
                                  Northern District of California

                                             CIVIL MINUTES

Date: February 23, 2024           Time: 9:30 a.m. to 11:33 a.m. Judge: YVONNE GONZALEZ ROGERS
                                        2 hours 3 minutes
Case No.: 22-md-03047-YGR         Case Name: In Re: Social Media Adolescent Addiction/Personal Injury
                                               Products Liability Litigation

     Attorney for Plaintiff: Jennie Lee Anderson (Liaison Counsel)
     Attorney for Defendant: Ashley Simonsen (Liaison Counsel)
     List of Additional Appearances Attached

      Deputy Clerk: Edwin Angelo A. Cuenco                       Reported by: Raynee Mercado

                                              PROCEEDINGS

     Motion to Dismiss; Further Case Management Conference - Held.

     The Court heard argument on, among others, defendant Mark Zuckerberg’s motion to dismiss
     and the selection criteria for the bellwether discovery pools. The Court ORDERED supplemental
     briefing with respect to two issues on Mr. Zuckerberg’s motion.

     The parties also discussed whether defendants have a right to a jury trial under any of the state
     Attorneys General (the “States”) claims. The States are ORDERED to prepare a chart identifying,
     for each state law claim they bring, whether defendant is entitled to a jury on findings of liability
     and/or relief, to share with defendants for their input. The parties are also ORDERED to meet and
     confer as to whether their interpretations of Tull v. United States, 481 U.S. 412 (1987) differ as
     to defendant Meta’s potential entitlement to a jury trial.

     The Court will hear ARGUMENT on the motion to remand in Youngers v. Meta Platforms, Inc.,
     No. 22-md-03047 (N.D. Cal. Feb. 15, 2024), Dkt. No. 64, at the March 22, 2024, case
     management conference.

     The Court will hear ARGUMENT on the motion to dismiss the multistate Attorneys General
     complaint, the Florida Attorney General’s complaint, and the personal injury consumer
     protection and misrepresentation claims (previously identified as the “Track 1” dismissal
     briefing) at the April 19, 2024, case management conference.

     Written order to issue.
